Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 1 of 12




             EXHIBIT "P"
              Ceballes and Hernandez
               Personnel Documents




              Ceballes and Hernandez
               Personnel Documents



             EXHIBIT "P"
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 2 of 12
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 3 of 12
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 4 of 12
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 5 of 12
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 6 of 12
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 7 of 12
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 8 of 12
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 9 of 12
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 10 of 12
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 11 of 12
Case 2:19-cv-00373-APG-EJY Document 148-17 Filed 04/20/20 Page 12 of 12
